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3                             UNITED STATES DISTRICT COURT

4                                    DISTRICT OF NEVADA

5                                               ***

6     SLATER L. YOHEY,                                Case No. 3:20-cv-00441-MMD-CLB

7                                 Petitioner,                      ORDER
            v.
8
      PERRY RUSSELL, et al.,
9
                              Respondents.
10

11         This is a habeas corpus matter under 28 U.S.C. § 2254. Currently before the Court

12   is Respondents’ unopposed motion for enlargement of time (third request). (ECF No. 32.)

13   The Court finds that good cause exists to grant the motion.

14         It is therefore ordered that Respondents’ unopposed motion for enlargement of time

15   (ECF No. 32) is granted. Respondents will have up to and including November 1, 2021,

16   to file an answer or other response to the second amended petition for a writ of habeas

17   corpus (ECF No. 24).

18         DATED THIS 1st Day of October 2021.

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                                                MIRANDA M. DU
21                                              CHIEF UNITED STATES DISTRICT JUDGE

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